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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


NASSER AL-AULAQI,

             Plaintiff,

      v.                                         No. 10-cv-______

BARACK H. OBAMA, et al.,

             Defendants.


      MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR A
                 PRELIMINARY INJUNCTION

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August 30, 2010
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                                    INTRODUCTION

       This case concerns the executive’s asserted authority to carry out “targeted

killings” of U.S. citizens suspected of terrorism far from any field of armed conflict.

According to numerous published reports, the government maintains lists of suspects—

“kill lists”—against whom lethal force can be used without charge, trial, or conviction.

Individuals, including U.S. citizens, are added to the lists based on executive

determinations that secret criteria have been satisfied. Executive officials are thus

invested with sweeping authority to impose extrajudicial death sentences in violation of

the Constitution and international law.

       The right to life is the most fundamental of all rights. Outside the context of

armed conflict, the intentional use of lethal force without prior judicial process is an

abridgement of this right except in the narrowest and most extraordinary circumstances.

       The United States is not at war with Yemen, or within it. Nonetheless, U.S.

government officials have disclosed the government’s intention to carry out the targeted

killing of U.S. citizen Anwar Al-Aulaqi, who is in hiding there. In early 2010, several

newspapers reported that U.S. government officials had confirmed Anwar Al-Aulaqi’s

placement on government kill lists; these lists amount to standing authorizations to use

lethal force. Numerous subsequent reports have corroborated those accounts. According

to one media report, there have already been as many as a dozen unsuccessful attempts on

Anwar Al-Aulaqi’s life. Anwar Al-Aulaqi has been in hiding since at least January 2010.

Plaintiff Nasser Al-Aulaqi is Anwar Al-Aulaqi’s father; he brings this action on his own

behalf and as next friend to his son.




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       Outside of armed conflict, both the Constitution and international law prohibit

targeted killing except as a last resort to protect against concrete, specific, and imminent

threats of death or serious physical injury. The summary use of force is lawful in these

narrow circumstances only because the imminence of the threat makes judicial process

infeasible. A targeted killing policy under which individuals are added to kill lists after a

bureaucratic process and remain on these lists for months at a time plainly goes beyond

the use of lethal force as a last resort to address imminent threats, and accordingly goes

beyond what the Constitution and international law permit.

       The government’s refusal to disclose the standard by which it determines to target

U.S. citizens for death independently violates the Constitution: U.S. citizens have a right

to know what conduct may subject them to execution at the hands of their own

government. Due process requires, at a minimum, that citizens be put on notice of what

may cause them to be put to death by the state.

       Through this action, Plaintiff seeks a declaration from this Court that the

Constitution and international law prohibit the government from carrying out targeted

killings outside of armed conflict except as a last resort to protect against concrete,

specific, and imminent threats of death or serious physical injury; and an injunction

prohibiting the targeted killing of U.S. citizen Anwar Al-Aulaqi outside this narrow

context. Plaintiff also seeks an injunction requiring the government to disclose the

standards under which it determines whether U.S. citizens can be targeted for death.




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                               FACTUAL BACKGROUND

            Targeted Killings by the United States Outside of Armed Conflict

       Since 2001, the United States has carried out targeted killings in connection with

the “war on terror.” Declaration of Ben Wizner (“Wizner Decl.”) ¶ 3, Ex. O-P. While

many of these killings have been conducted by the U.S. military in the context of the

armed conflicts in Afghanistan and Iraq, the United States has also carried out targeted

killings outside the context of armed conflict, id. ¶ 3, Ex. A-D, and it is these killings that

are at issue here. Both the Central Intelligence Agency (“CIA”) and the U.S. military’s

Joint Special Operations Command (“JSOC”) are involved in authorizing, planning, and

carrying out targeted killings, including of U.S. citizens, outside the context of armed

conflict. Id. ¶ 4, Ex. E-H.

       The first reported post-2001 targeted killing by the U.S. government outside

Afghanistan occurred in Yemen in November 2002, when a CIA-operated Predator drone

fired a missile at a suspected terrorist traveling in a car with other passengers. Id. ¶ 3, Ex.

A-D. The strike killed all passengers in the vehicle, including a U.S. citizen. Id. Ex. B-

C. The United Nations Special Rapporteur on Extrajudicial Killings later stated that the

strike constituted “a clear case of extrajudicial killing” and set an “alarming precedent.”

Id. Ex. D. Since 2001, there has been an increase in targeted killings by the United States

against terrorism suspects outside of Afghanistan and Iraq.

       The government has publicly claimed the authority to carry out targeted killings

of civilians, including U.S. citizens, outside the context of armed conflict. Id. ¶¶ 3-5, Ex.

A-J, L-P, R-S. For example, in February 2010, then-Director of National Intelligence

Dennis Blair, in response to a question by a member of Congress about the targeted




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killing of U.S. citizens, stated that the United States takes “direct action” against

suspected terrorists and that “if we think that direct action will involve killing an

American, we get specific permission to do that.” Id. ¶ 5(a), Ex. G. In June 2010,

Deputy National Security Advisor John Brennan responded to questions about the

targeted killing program by stating, “If an American person or citizen is in Yemen or in

Pakistan or in Somalia or another place, and they are trying to carry out attacks against

U.S. interests, they will also face the full brunt of a U.S. response.” Id. ¶ 5(b), Ex. H.

        Although the government has publicly claimed the authority to carry out targeted

killings of civilians outside the context of armed conflict, it has not explained on what

basis individuals are added to kill lists, or the circumstances in which the asserted

authority to carry out targeted killings will actually be exercised.

              Specific Authorization to Kill Plaintiff’s Son Anwar Al-Aulaqi

        Plaintiff Nasser Al-Aulaqi moved to the United States in 1966 to pursue his

studies as a Fulbright scholar at New Mexico State University. Declaration of Nasser Al-

Aulaqi (“Al-Aulaqi Decl.”) ¶ 3. Plaintiff’s son, Anwar Al-Aulaqi, was born in New

Mexico in 1971. Id. ¶ 4. Plaintiff remained in the United States with his family for the

next seven years, until 1978, when they moved back to Yemen. Id. ¶ 3. Plaintiff went on

to serve as Minister of Agriculture and Fisheries in the Government of Yemen, and later

founded and served as president of Ibb University and served as president of Sana’a

University. Id. Plaintiff currently resides in Yemen with his wife, who is an American

citizen, and their family. Id. ¶ 2.

        In 1991, Plaintiff’s son Anwar Al-Aulaqi returned to the United States to attend

college at Colorado State University. Id. ¶ 4. Anwar Al-Aulaqi went on to obtain his




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master’s degree at San Diego State University and later enrolled in a Ph.D. program at

George Washington University, which he attended through December 2001. Id. He

married and had three children while living in the United States. Id. He moved to the

United Kingdom in 2003, and to Yemen in 2004. Id.

       In January 2010, the Washington Post reported that Anwar Al-Aulaqi had been

added to “a shortlist of U.S. citizens” that JSOC was specifically authorized to kill.

Wizner Decl. ¶ 11(b), Ex. F. The same article reported that Anwar Al-Aulaqi had

survived a JSOC-assisted strike in Yemen in late December 2009. Id.; see also ¶ 13(a),

Ex. L. That strike reportedly killed 41 civilians, mostly children and women. Id. ¶ 10(b)-

(c), Ex. Q-R. Another January 2010 news report stated that Anwar Al-Aulaqi was “all

but certain” to be added to a list of suspects that the CIA was specifically authorized to

kill. Id. ¶ 11(a), Ex. E. In April 2010, the Washington Post and other media sources

reported that Anwar Al-Aulaqi had been added to the CIA’s list. Id. ¶ 12, Ex. H, L-M.

       Numerous news reports have corroborated that Defendants have authorized the

targeted killing of Anwar Al-Aulaqi and are actively pursuing him. According to one

media report, he has already been the target of as many as a dozen unsuccessful strikes.

Id. ¶ 13, Ex. S. One U.S. official stated that “he’s in everybody’s sights.” Id. ¶ 12(b),

Ex. L. In the context of a discussion about targeted killing, Defendant CIA Director Leon

Panetta stated that Anwar Al-Aulaqi is “someone that we’re looking for” and that “there

isn’t any question that he’s one of the individuals that we’re focusing on.” Id. Ex. J.

       Defendants added Anwar Al-Aulaqi to the CIA and JSOC kill lists after a closed

executive process. Id. ¶ 6, Ex. E, G, K. In the course of that process, Defendants and

other executive officials determined that Anwar Al-Aulaqi satisfied secret criteria that




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determine whether a U.S. citizen can be killed by his own government. Anwar Al-Aulaqi

is now subject to a standing order that permits the CIA and JSOC to kill him. Id. ¶¶ 9,

11-13, Ex. E-I, L-O, R-S.

       Individuals placed on the CIA and JSOC targeted killing lists remain on those

lists for months at a time. Id. ¶ 8, Ex. E, L. An intelligence official who was questioned

about the CIA’s kill list stated that individuals would be removed from the kill list if their

names “hadn’t popped on the screen for over a year, or there was no intelligence linking

[them] to known terrorists or plans.” Id. Ex. E.

       Defendants have authorized the CIA and JSOC to kill Anwar Al-Aulaqi without

regard to whether, at the time lethal force will be used, he presents a concrete, specific,

and imminent threat to life, or whether there are reasonable means short of lethal force

that could be used to address any such threat.

       Executive officials have condemned Anwar Al-Aulaqi’s public statements and

sermons; they have also alleged that he has “cast his lot” with terrorist groups and

assumed an “operational” role in a terrorist organization. Id. ¶ 14, Ex. H, K, M, T. The

U.S. government has not, however, publicly indicted Anwar Al-Aulaqi for any terrorism-

related crime.

       In response to reports that the United States has placed Anwar Al-Aulaqi on “kill

lists,” Yemeni officials, including the Prime Minister, the Foreign Minister, and the

Director of the National Security Agency, have publicly stated that their government’s

security forces are taking measures to arrest Anwar Al-Aulaqi for possible charge and

trial. Id. ¶ 15, Ex. F, U-X. Yemeni cabinet members have also publicly requested that

the United States provide the Yemeni government with any evidence against Anwar al-




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Aulaqi to support arresting him and bringing him to trial. The Yemeni government has

prosecuted other residents of Yemen for terrorism-related crimes, and the Yemeni

government is currently prosecuting at least one U.S. citizen who is alleged to be a

member of a terrorist organization. Id. ¶ 17, Ex. Z. Anwar Al-Aulaqi has in the past

been detained by the Yemeni government and was imprisoned for 18 months in 2006 and

2007. Id. ¶ 18, Ex. AA.

       Anwar Al-Aulaqi has been in hiding in Yemen since at least January 2010. Id. ¶

19, Ex. AA-AB. Plaintiff has had no communication with his son during that time. Al-

Aulaqi Decl. ¶ 9. Anwar Al-Aulaqi cannot communicate with his father or counsel

without endangering his own life. Id.

                                       ARGUMENT

       Plaintiff is entitled to a preliminary injunction because (1) he has “a substantial

likelihood of success on the merits”; (2) he and his son “would suffer irreparable injury

were an injunction not granted”; (3) an injunction would not “substantially injure other

interested parties”; and (4) “the grant of an injunction would further the public interest.”

Ark. Dairy Coop. Ass’n v. U.S. Dep’t of Agric., 573 F.3d 815, 821 (D.C. Cir. 2009).

“These factors interrelate on a sliding scale and must be balanced against each other.”

Davenport v. Int’l Bhd. of Teamsters, 166 F.3d 356, 360-61 (D.C. Cir. 1999) (citation

omitted).

       “‘If the arguments for one factor are particularly strong, an injunction may issue

even if the arguments in other areas are rather weak.’” Belbacha v. Bush, 520 F.3d 452,

459 (D.C. Cir. 2008) (quoting CityFed Fin. Corp. v. Office of Thrift Supervision, 58 F.3d

738, 747 (D.C. Cir. 1995)). When a plaintiff “makes a very strong showing of irreparable




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harm and there is no substantial harm to the non-movant, then a correspondingly lower

standard can be applied for likelihood of success.” Davis, 571 F.3d at 1292 (citing Wash.

Metro. Area Transit Comm’n v. Holiday Tours, Inc., 559 F.2d 841, 843 (D.C. Cir. 1977));

Population Inst. v. McPherson, 797 F.2d 1062, 1078 (D.C. Cir. 1986) (“Injunctive relief

may be granted with either a high likelihood of success and some injury, or vice versa.”

(citation omitted)). Even where success on the merits is “far from clear,” a motion for

preliminary injunction cannot fail as a matter of law if the prospective harm is

sufficiently grave. See Belbacha, 520 F.3d at 459 (finding risk of torture sufficiently

grave to warrant preliminary injunction).

       Plaintiff meets the threshold necessary for a preliminary injunction. His claims

that the targeting of his son for killing is unconstitutional and violates international law

are extremely strong on the merits. Plaintiff’s son will suffer the most irreparable of

harms, and Plaintiff will also suffer irreparable harm, if Defendants are allowed to carry

out an unlawful killing. A preliminary injunction will not, however, harm Defendants;

the injunction would leave undisturbed Defendants’ authority, recognized under domestic

and international law, to use lethal force as a last resort against individuals who pose an

imminent threat of death or physical injury. The public interest also strongly favors

upholding the U.S. Constitution and laws and preventing unlawful government killings.

A. PLAINTIFF HAS A SUBSTANTIAL LIKELIHOOD OF SUCCESS ON THE
   MERITS.

   1. The Constitution has extraterritorial application to the government’s
      conduct against U.S. citizens abroad.

       It is “well settled that the Bill of Rights has extraterritorial application to the

conduct abroad of federal agents directed against United States citizens.” In re Terrorist




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Bombings of U.S. Embassies in E. Afr., 552 F.3d 157, 167 (2d Cir. 2008) (discussing the

applicability of the Fourth Amendment to citizens abroad) (internal quotation marks

omitted); see also Reid v. Covert, 354 U.S. 1, 5-6 (1957) (plurality opinion) (“[W]e reject

the idea that when the United States acts against citizens abroad it can do so free of the

Bill of Rights. The United States is entirely a creature of the Constitution. Its power and

authority have no other source. It can only act in accordance with all the limitations

imposed by the Constitution.”); United States v. Verdugo-Urquidez, 494 U.S. 259, 270

(1990) (“[Reid v. Covert] decided that United States citizens stationed abroad could

invoke the protection of the Fifth and Sixth Amendments.”).

       The Constitution applies with full force to the government conduct challenged

here. While the government has argued in some contexts that the Constitution applies

differently in the context of armed conflict, but see Hamdi v. Rumsfeld, 542 U.S. 507

(2004) (holding that the Due Process Clause applies even to U.S. citizen captured on the

battlefield in the context of armed conflict), the United States is not engaged in armed

conflict with Yemen, or within it. See Rise of the Drones II: Hearing Before the

Subcomm. on Nat’l Security and Foreign Affairs of the H. Comm. on Gov’t Oversight and

Reform, 111th Cong. 2-4 (2010) (testimony of Mary Ellen O’Connell).1 That the United

States is engaged in an armed conflict in Afghanistan does not mean that the law of war

applies in Yemen, or anywhere else in the world that a suspected terrorist may be found.

See Report of the Special Rapporteur, Study on Targeted Killings, U.N. Doc.

A/HRC/14/24/Add.6, ¶¶ 52-56 (discussing the criteria for non-international armed

conflict and concluding that these factors “make it problematic for the U.S. to show



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           Available at: http://www.fas.org/irp/congress/2010_hr/042810oconnell.pdf.

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that—outside the context of the armed conflicts in Afghanistan or Iraq—it is in a

transnational non-international armed conflict against ‘al Qaeda, the Taliban, and other

associated forces’”); Mary Ellen O’Connell, Combatants and the Combat Zone, 43 U.

Rich. L. Rev. 845, 858 (2009) (“In addition to exchange, intensity, and duration, armed

conflicts have a spatial dimension. It is not the case that if there is an armed conflict in

one state—for example, Afghanistan—that all the world is at war, or even that Afghanis

and Americans are at war with each other all over the planet.”); Prosecutor v. Tadić, Case

No. IT-94-1-T, Judgment, ¶ 562 (Int’l Crim. Trib. for the Former Yugoslavia May 7,

1997) (distinguishing non-international armed conflicts from “banditry, unorganized and

short-lived insurrections, or terrorist activities, which are not subject to international

humanitarian law.”); cf. Ex Parte Milligan, 71 U.S. (4 Wall.) 2, 127 (1866) (“Martial rule

. . . is . . . confined to the locality of actual war.”).

        The Constitution thus applies with full force to the government conduct

challenged in this case.

    2. Outside the context of armed conflict, the government’s targeted killing of a
       U.S. citizen violates the Fourth Amendment unless the citizen poses an
       imminent threat of death or serious physical injury and the use of lethal
       force is a last resort.

        The Supreme Court has held that “apprehension by the use of deadly force is a

seizure subject to the reasonableness requirement of the Fourth Amendment.” Tennessee

v. Garner, 471 U.S. 1, 7 (1985); see also Graham v. Connor, 490 U.S. 386, 395 (1989)

(“Today we make explicit what was implicit in Garner’s analysis, and hold that all

claims that law enforcement officers have used excessive force—deadly or not—in the

course of an arrest, investigatory stop, or other ‘seizure’ of a free citizen should be




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analyzed under the Forth Amendment and its ‘reasonableness’ standard . . . .”).2

Determining whether the force used to effect a particular seizure is “reasonable” involves

“balanc[ing] the nature and quality of the intrusion on the individual’s Fourth

Amendment interests against the importance of the governmental interests alleged to

justify the intrusion.” Scott v. Harris, 550 U.S. 372, 383 (2007) (internal quotation marks

omitted). Whether a seizure is justified requires consideration of the “totality of the

circumstances.” Garner, 471 U.S. at 9.

        The Supreme Court has made clear that there is no special analytical framework

for analyzing, under the Fourth Amendment, the reasonableness of the government’s

intentional use of lethal force. Scott, 550 U.S. at 382 (“Garner did not establish a

magical on/off switch that triggers rigid preconditions whenever an officer’s actions

constitute ‘deadly force.’”). However, among the factors the courts consider in

evaluating such claims are the seriousness and nature of the threat, the imminence of the

threat, and whether there are non-lethal means that could reasonably be used to neutralize

the threat. The government’s use of lethal force against a citizen is constitutional only if,

at the time lethal force is employed, the citizen poses an imminent threat of death or

serious physical injury and there are no non-lethal means that could reasonably be used to

neutralize the threat.

        In Tennessee v. Garner, for example, the Supreme Court considered the use of

lethal force by police officers who had sought to prevent the escape of an apparently

unarmed burglary suspect. Garner, 471 U.S. at 1. In holding that the use of lethal force



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         “[A] Fourth Amendment seizure . . . occur[s] . . . when there is a governmental
termination of freedom of movement through means intentionally applied.” Brower v.
County of Inyo, 489 U.S. 593, 596-97 (1989) (emphasis in original).

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by police had been unreasonable under the Fourth Amendment, the Court stated: “Where

the suspect poses no immediate threat to the officer and no threat to others, the harm

resulting from failing to apprehend him does not justify the use of deadly force to do so.”

Id. at 11 (emphasis added). The Court also emphasized that the reasonableness of the use

of lethal force turns at least in part on the seriousness and nature of the threat. Id.

(indicating that reasonableness turns in part on whether “the police officer has probable

cause to believe that the suspect poses a threat of serious physical harm”). In analyzing

the reasonableness of the officer’s use of deadly force, the Court acknowledged the

“governmental interests in effective law enforcement,” but also observed that “the

intrusiveness of a seizure by means of deadly force is unmatched.” Id. at 9. The Court

explained: “The suspect’s fundamental interest in his own life need not be elaborated

upon. The use of deadly force also frustrates the interest of the individual, and of society,

in judicial determination of guilt and punishment.” Id.

       In Scott v. Harris, the Court considered whether a police officer had acted

unreasonably by terminating the flight of a high-speed motorist by ramming the rear

bumper of the suspect’s vehicle, causing an accident that rendered the suspect a

quadriplegic. In holding that the police had acted reasonably, the Court wrote: “[I]t is

clear . . . that respondent posed an actual and imminent threat to the lives of any

pedestrians who might have been present, to other civilian motorists, and to the officers

involved in the case.” 550 U.S. at 384 (emphasis added); see also id. at 386 (holding that

use of lethal force was not unreasonable because respondent had “posed a substantial and

immediate risk of serious physical injury to others” (emphasis added)). The Court also

noted that the police officer had considered non-lethal means to neutralize the threat, and




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resorted to lethal force only after concluding that other means would be ineffective. Id. at

385.

       The circuit courts have considered the same factors—the seriousness and nature

of the threat, the imminence of the threat, and the availability of alternatives to lethal

force—in their analyses of reasonableness under the Fourth Amendment. Thus, the

circuits have emphasized that lethal force is reasonable only in response to a threat of

serious physical harm. See, e.g., Graham v. Davis, 880 F.2d 1414, 1419 (D.C. Cir. 1989)

(officer was “only entitled to use an amount of force that was reasonably required to

protect himself”); Estate of Escobedo v. Bender, 600 F.3d 770, 780 (7th Cir. 2010)

(“[T]he excessive force inquiry looks to whether the force used to seize the suspect was

excessive in relation to the danger he posed—to the community or to the arresting

officers—if left unattended.” (internal quotation marks omitted)); Floyd v. City of

Detroit, 518 F.3d 398, 407 (6th Cir. 2008) (“As a matter of law, an unarmed and

nondangerous suspect has a constitutional right not to be shot by police officers.”); Gray-

Hopkins v. Prince George’s County, Md., 309 F.3d 224, 231 (4th Cir. 2002) (“Deadly

force . . . is justified only where a reasonable officer would have sound reason to believe

that a suspect poses a threat of serious physical harm to the officer or others.” (internal

quotation marks and alteration omitted)).

       The courts have also insisted that deadly force may be used only against concrete,

specific, and imminent threats. See, e.g., Wilkinson v. Torres, 610 F.3d 546, 550 (9th Cir.

2010) (“Case law has clearly established that an officer may not use deadly force to

apprehend a suspect where the suspect poses no immediate threat to the officer or

others.”); Cordova v. Aragon, 569 F.3d 1183, 1190 (10th Cir. 2009) (“When an officer




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employs such a level of force that death is nearly certain, he must do so based on more

than the general dangers posed by reckless driving.”); cf. Hundley v. District of

Columbia, 494 F.3d 1097 (D.C. Cir. 2007) (holding that jury could not find officer’s use

of lethal force against a suspect reasonable in light of the jury’s specific finding that the

suspect did not lunge at police officer in a threatening manner).

       In one particularly relevant series of cases, the Ninth Circuit found

unconstitutional “special rules of engagement” that permitted FBI agents involved in the

Ruby Ridge standoff to shoot on sight “any armed adult male” seen in the vicinity of a

particular cabin, without regard to whether those individuals posed any imminent threat.

Harris v. Roderick, 126 F.3d 1189, 1202 (9th Cir. 1997), cert. denied, 522 U.S. 1115

(1998); Idaho v. Horiuchi, 253 F.3d 359, 377 (9th Cir. 2001) (en banc) (per Kozinski, J.)

(“[T]his is not a case where a law enforcement agent fired his weapon under a mistaken

belief that his fellow agents or members of the public were in immediate danger. Rather,

a group of FBI agents formulated rules of engagement that permitted their colleagues to

hide in the bushes and gun down men who posed no immediate threat. Such wartime

rules are patently unconstitutional for a police action.”), vacated as moot, 266 F.3d 979

(9th Cir. 2001).

       Furthermore, the courts have consistently examined whether the force used was

“greater than [was] reasonable under the circumstances.” Espinosa v. City and County of

San Francisco, 598 F.3d 528, 537 (9th Cir. 2010) (internal quotation marks omitted). In

conducting that inquiry, courts have considered whether less intrusive measures were

attempted before the state resorted to greater force. See, e.g., Scott, 550 U.S. at 385;




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Smith v. City of Hemet, 394 F.3d 689, 701 (9th Cir. 2005) (“the availability of alternative

methods of capturing or subduing a suspect may be a factor to consider.”).

       To be sure, the Fourth Amendment’s reasonableness inquiry is context-specific;

what is unreasonable in one context may be reasonable in another. Graham, 490 U.S. at

396 (“The test of reasonableness under the Fourth Amendment . . . requires careful

attention to the facts and circumstances of each particular case . . . .” (internal quotation

marks omitted)). As the Supreme Court noted in Garner, however, there is no seizure

more intrusive than one that employs deadly force, and the individual’s interest in his

own life is “unmatched.” Garner, 471 U.S. at 9; see also Davenport v. Causey, 521 F.3d

544, 551 (6th Cir. 2008) (“Given the extreme intrusion caused by use of deadly force, the

countervailing governmental interests must be weighty indeed; only in rare instances may

an officer seize a suspect by use of deadly force.” (internal quotation marks omitted)).

Accordingly, in every context the government’s authority to use lethal force against its

own citizens must be narrowly circumscribed.

       The standing order to kill Anwar Al-Aulaqi runs afoul of the Fourth Amendment.

As the cases make plain, the reasonableness of the government’s use of lethal force turns

on the imminence of the threat, the gravity of the threat, and the availability of other

alternatives at the time lethal force is actually applied. The government cannot

reasonably use lethal force now to address a threat that was determined to be imminent

months ago but is no longer imminent now. The use of lethal force is reasonable only if,

at the time lethal force is actually employed, the targeted individual presents a concrete,

specific, and imminent threat to life or physical safety. Kill lists—to the extent that they




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authorize individuals to be killed irrespective of the threat they pose at the time lethal

force is used—are fundamentally inconsistent with this principle.

    3. Outside the context of armed conflict, the government’s targeted killing of a
       U.S. citizen violates the Fifth Amendment unless the citizen poses an
       imminent threat of death or serious physical injury and the use of lethal
       force is a last resort.

        While the Fourth Amendment protects against unreasonable seizures, the Fifth

Amendment provides more general protection against the deprivation of life without due

process of law in circumstances where no seizure has occurred. Graham, 490 U.S. at 395

(discussing relationship between Fourth and Fifth Amendments in the context of

excessive force claims). Should the Court conclude that targeted killings abroad are not

properly analyzed under the Fourth Amendment, it must then apply a Fifth Amendment

standard to the allegations in the Complaint. See County of Sacramento v. Lewis, 523

U.S. 833, 842-45 (1998) (holding, in the context of lethal force claim against police, that

“substantive due process analysis is . . . inappropriate . . . only if [a] claim is ‘covered by’

the Fourth Amendment”). In this context, the Fourth and Fifth Amendment standards are

virtually identical.

        The Fifth Amendment’s protection against the deprivation of life “without due

process of law” is perhaps the most important of the Constitution’s guarantees, reflecting

a principle that has been central to the Anglo-American legal tradition since at least the

13th century. See Magna Carta, ch. 39 (1215) (“No freeman shall be taken or imprisoned

or disseised or exiled or in any way destroyed, nor will we go upon him nor send upon

him, except by the lawful judgment of his peers or by the law of the land.” (emphasis

added)). In the language of Fifth Amendment doctrine, the right to life is “fundamental.”

See, e.g., County of Sacramento v. Lewis, 523 U.S. 833, 840 (1998) (recognizing that the



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right to life is afforded substantive protection by the Due Process Clause); W. Va. State

Bd. of Educ. v. Barnette, 319 U.S. 624, 638 (1943) (“The very purpose of a Bill of Rights

was to withdraw certain subjects from the vicissitudes of political controversy . . . and to

establish them as principles to be applied by the courts. One’s right to life . . . may not be

submitted to vote; [it] depend[s] on the outcome of no elections.”).

        Because the right to life is fundamental, a government policy that permits that

right to be extinguished is evaluated under the strictest scrutiny. Washington v.

Glucksberg, 521 U.S. 702, 721 (1997); Reno v. Flores, 507 U.S. 292, 302 (1993) (stating

that Due Process clause forecloses government from “infring[ing] . . . fundamental liberty

interests at all, no matter what process is provided, unless the infringement is narrowly

tailored to serve a compelling state interest” (internal quotation marks omitted)). Indeed,

because “the action of the sovereign in taking the life of one of its citizens . . . differs

dramatically from any other legitimate state action,” Gardner v. Florida, 430 U.S. 349,

357-58 (1977), the courts have applied the strictest scrutiny even where the government

takes life pursuant to a sentence imposed after trial and conviction. See, e.g., Baze v.

Rees, 553 U.S. 35, 84 (2008) (“[A] number of our decisions rel[y] on the premise that

‘death is different’ from every other form of punishment to justify rules minimizing the

risk of error in capital cases.”); California v. Ramos, 463 U.S. 992, 998-99 (1983) (“The

Court . . . has recognized that the qualitative difference of death from all other

punishments requires a correspondingly greater degree of scrutiny . . . .”); Lockett v.

Ohio, 438 U.S. 586, 605 (1978) (“[T]he imposition of death by public authority is . . .

profoundly different from all other penalties . . . .”).




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       Government policies that deprive a citizen of life can be justified only if the

governmental interest is compelling, and only if the taking of life is narrowly tailored to

that interest. Outside the context of armed conflict, this generally means that the

government cannot deprive a citizen of life except pursuant to a sentence imposed after

trial and conviction based on proof beyond a reasonable doubt. See, e.g., Kennedy v.

Mendoza-Martinez, 372 U.S. 144, 165-67 (1963) (“Our forefathers ‘intended to safeguard

the people of this country from punishment without trial by duly constituted courts.’”

(quoting United States v. Lovett, 328 U.S. 303, 317 (1946))); Screws v. United States, 325

U.S. 91, 106 (1945) (plurality opinion of Douglas, J.) (“Those who decide to take the law

into their own hands and act as prosecutor, jury, judge, and executioner plainly act to

deprive a prisoner of the trial which due process of law guarantees him.”); In re Winship,

397 U.S. 358 (1970). Even after trial and conviction, of course, the government’s power

to deprive a citizen of life is not without limit. See, e.g., Kennedy v. Louisiana, 128 S. Ct.

2641 (2008) (rejecting death penalty for child rape); Coker v. Georgia, 433 U.S. 584

(1977) (rejecting death penalty for rape).

       Outside the context of armed conflict, the government’s targeted killing of a

citizen can survive strict scrutiny only if the citizen poses a concrete, specific, and

imminent threat to life or physical safety, and only if there are no non-lethal means that

can reasonably be employed to neutralize the threat. In other words, the Fifth

Amendment prescribes the same limitations that the Fourth Amendment does.

       1. Threat to life or physical safety. Absent a threat to life or serious physical

injury, the government’s interest in neutralizing a threat is insufficient to justify the use

of lethal force. The Supreme Court has stated this principle clearly in the context of the




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Fourth Amendment, see, e.g., Garner, 471 U.S. at 11 (distinguishing “threat[s] of serious

physical harm” from threats insufficient to warrant use of lethal force), but the same

principle can be drawn from the Fifth Amendment. See, e.g., Garner v. Memphis Police

Dep’t, 710 F.2d 240, 247 (6th Cir. 1983) (holding, under the Fifth Amendment, that the

government’s interest in using lethal force to stop a fleeing felon “[is] compelling when

the fleeing felon poses a danger to the safety of others” but not when it seeks “to protect

only property rights”), aff’d on Fourth Amd’t grounds sub nom. Tennessee v. Garner, 471

U.S. 1; Mattis v. Schnarr, 547 F.2d 1007, 1019 (8th Cir. 1976) (“The state . . . must

demonstrate the existence of an interest equivalent to, or greater than, the right to life to

justify the use of deadly force against fleeing felons.”), vacated as moot sub nom.

Ashcroft v. Mattis, 431 U.S. 171 (1977). Cf. Beard v. United States, 158 U.S. 550, 562

(1895) (holding that “[t]he weight of modern authority” establishes that deadly force may

be used in lawful self-defense only where the person “being without fault, and in a place

where he has a right to be, is violently assaulted”); Wayne R. LaFave, Substantive

Criminal Law § 10.4(b) (2009) (explaining that “the law recognizes that the amount of

force which he may justifiably use [in self-defense] must be reasonably related to the

harm which he seeks to avoid.”) (collecting cases). Given the magnitude of the private

interest at stake (the citizen’s interest in his own life), only the weightiest government

interest can suffice to justify the use of lethal force.

        2. Imminence. To justify the use of lethal force against a citizen without judicial

process, the threat in question must not only be grave but be imminent as well. Where a

threat is imminent, judicial process is infeasible by definition. Where a threat is more

remote, however, the state has no legitimate interest in depriving the citizen of an




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opportunity to know the charges against him and to be heard. To the contrary, the state

has an affirmative interest in providing this process, because a judicial process separates

the innocent from the guilty and gives legitimacy to the state’s actions. See, e.g., Garner,

471 U.S. at 10. Simply put, the government has no legitimate interest in using immediate

lethal force against a citizen who does not present an immediate threat. Cf. LaFave,

Substantive Criminal Law § 10.4(d) (“Case law and legislation concerning self-defense

require that the defendant reasonably believe his adversary’s unlawful violence to be

almost immediately forthcoming. Most of the modern codes require that the defendant

reasonably perceive an ‘imminent’ use of force, although other language making the

same point is sometimes to be found.”) (collecting cases).

        The “imminence” requirement also follows from basic principles of procedural

due process. Under Mathews v. Eldridge, what process is due turns on the significance of

(i) the private interest that will be affected by the official action; (ii) the risk of an

erroneous deprivation of such interest through the procedures used, and the probable

value, if any, of additional or substitute procedural safeguards; and (iii) the government’s

interest, including the function involved and the fiscal and administrative burdens that the

additional or substitute procedural requirement would entail. 424 U.S. 319, 334-35

(1976). Except where a threat to life is imminent, each of these factors weighs decisively

in favor of requiring judicial process.

        First, a citizen’s interest in his own life is uniquely weighty. Second, without

judicial process, the risk that the government will execute an innocent citizen—or, for

that matter, a citizen who has engaged in criminal conduct but who does not present a

grave and imminent threat to life—is high. The risk is particularly high where targeting




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decisions are made on the basis of intelligence rather than admissible evidence, because

intelligence often includes hearsay, information obtained through the use of coercive

methods, information obtained from sources with complex motives and of questionable

reliability, information that has never been subjected to public scrutiny, and information

whose reliability has never been tested in court.3 At the same time, there is no question

that additional procedural safeguards would reduce the risk of error—indeed, our entire

criminal justice system is based on the theory that procedural safeguards help sort the

innocent from the guilty. Cf. Hamdi v. Rumsfeld, 542 U.S. 507 (2004) (holding that due

process requires some process for a U.S. citizen detained in the United States by military

authorities even when that citizen was captured on the battlefield in the context of armed

conflict).4 Finally, the burden of a criminal trial, while certainly not insubstantial, is

minimal in relation to the significance of the private interest at stake. To be sure, the

burden of providing a criminal trial is substantial if the threat in question is imminent,

because in that context the requirement of process would entirely defeat the government’s

ability to act before the threat is fully realized. Where a threat is more remote, however,




        3
           51 prisoners at Guantánamo Bay have now had their cases decided by courts. In
each one of those cases, the government argued that the intelligence and other
information in its possession established that the prisoner was “part of” or “substantially
supported” Al Qaeda, the Taliban or affiliated groups. Yet in nearly three-quarters (37)
of those cases, the government’s evidence failed to withstand scrutiny when submitted to
review by a habeas court on a preponderance-of-the-evidence standard. See Center for
Constitutional Rights, Guantanamo Habeas Scorecard (Aug. 17, 2010), available at
http://ccrjustice.org/learn-more/faqs/guantanamo-bay-habeas-decision-scorecard.
         4
           There is also, of course, the risk that the government’s use of lethal force will
result in the deaths of innocent bystanders. See, e.g., Dexter Filkins, Operators of Drones
are Faulted in Afghan Deaths, N.Y. Times, May 29, 2010; Peter Bergen & Katherine
Tiedemann, The Year of the Drone, Foreign Policy Magazine, Apr. 26, 2010; Scott
Shane, CIA to Expand Drone Use in Pakistan, N.Y. Times, Dec. 3, 2009; Daniel L.
Byman, Do Targeted Killings Work?, The Brookings Institution, July 14, 2009.

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the government’s interest in neutralizing the threat is not impaired by requiring it to

provide ordinary judicial process.5

       3. Last resort. If the state’s interest in preventing death or serious injury can be

served by means that do not violate the right to life, then killing is, by definition,

unnecessary. In other words, if a threat can be defused by means short of killing, the

government is constitutionally required to use those means. Killing must be a genuinely

last resort, used only if other means have been attempted or are unavailable. A policy of

targeted killing without exhausting less intrusive options that could avert a threat is

simply not narrowly tailored to serve the government’s legitimate interests.

       The government’s standing authorization to kill Anwar Al-Aulaqi violates these

Fifth Amendment principles for the same reasons that it violates Fourth Amendment

principles. Under the Fifth Amendment, as under the Fourth Amendment, the question

whether a citizen presents a concrete, specific, and imminent threat to life or physical

safety, and the question whether there are non-lethal alternatives that can reasonably be

used to neutralize the threat, must be answered at the time lethal force is actually

employed. The government’s kill lists—which give the CIA and JSOC standing

authority to use lethal force against specific individuals—are fundamentally inconsistent

with that rule. This is certainly true of kill lists on which names remain for months at a

time. A threat that was determined months ago to be imminent but is no longer imminent

does not satisfy the constitutional “imminence” requirement. The government cannot

impose an extrajudicial death sentence on a citizen on the ground that he presented a

       5
          A corollary of the imminence requirement is that the government may not use
lethal force solely as retribution for past acts. See, e.g., Bell v. Wolfish, 441 U.S. 520,
535-36 (1979) (holding that under the Fifth Amendment pre-trial detainees may not be
punished “prior to an adjudication of guilt in accordance with due process of law”).

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threat in the past or that he might present a threat in the future. Indeed, to invest the

government with this kind of power, outside the context of armed conflict, would do

profound and lasting damage to the rule of law.

       The existence of a terrorist threat to the United States does not permit the

government to cast aside the principles that Americans have fought to safeguard for more

than two centuries. The Supreme Court has long recognized that “[t]he imperative

necessity for safeguarding [the right] to procedural due process under the gravest of

emergencies has existed throughout our constitutional history, for it is then, under the

pressing exigencies of crisis, that there is the greatest temptation to dispense with

fundamental constitutional guarantees which, it is feared, will inhibit governmental

action.” Kennedy, 372 U.S. at 164-65; see also Ex Parte Milligan, 72 U.S. at 120-21

(“The Constitution of the United States is a law for rulers and people, equally in war and

in peace, and covers with the shield of its protection all classes of men, at all times, and

under all circumstances.”).

   4. Outside of armed conflict, international law prohibits targeted killing unless
      the targeted individual poses an imminent threat of death or serious physical
      injury and the use of lethal force is a last resort.

           a.   Extrajudicial killing is actionable under the Alien Tort Statute.

       Arbitrary deprivation of life by the state is universally prohibited and condemned

under international law, as expressed in both treaty and customary law.6 Like the



       6
         See, e.g., Universal Declaration of Human Rights, art. 3, G.A. Res. 217 (III) A,
U.N. Doc. A/RES/217(III) (Dec. 10, 1948); International Covenant on Civil and Political
Rights, art. 6, GA res. 2200A (XXI), 21 UN GAOR Supp. (No. 16) at 52, UN Doc.
A/6316 (Dec. 16, 1966); European Convention on Human Rights, art. 2, Nov. 4, 1950,
213 U.N.T.S. 221; American Convention on Human Rights, art. 4, Nov. 21, 1969, 1144
U.N.T.S. 123; African Charter on Human and Peoples’ Rights, art. 4, June 27, 1981,
1520 U.N.T.S. 217; American Declaration of the Rights and Duties of Man, art. 1, O.A.S.

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prohibitions against genocide, slavery, and torture, the prohibition against arbitrary

killing, including extrajudicial killing, has the rare status of a jus cogens norm—a

fundamental rule of international law accepted and recognized by the international

community as a whole as permitting no derogation under any circumstances.7

       The Alien Tort Statute (“ATS”) confers jurisdiction upon district courts for “any

civil action by an alien for a tort … committed in violation of the law of nations or a

treaty of the United States.” 28 U.S.C. § 1350.8 In Sosa v. Alvarez-Machain, the

Supreme Court held that claims under the statute must “rest on a norm of international

character accepted by the civilized world and defined with a specificity comparable to the

features of the 18th-century paradigms we have recognized.” Sosa, 542 U.S. 692, 725

(2004). Endorsing the reasoning of previous courts, the Court clarified that the

underlying norms must be “specific, universal and obligatory.” Id. at 732 (quoting Tel-

Oren v. Libyan Arab Republic, 726 F.2d 774, 781 (D.C. Cir. 1984) and In re Estate of

Marcos Human Rights Litig., 25 F.3d 1467, 1475 (9th Cir. 1994)).




Res. XXX (May 2, 1948); see also Nils Melzer, Targeted Killing in International Law
184-89 (2008) (discussing evidence of the customary nature of the prohibition against
arbitrary deprivation of life).
        7
          See, e.g., Military and Paramilitary Activities in and Against Nicaragua (Nicar.
v. U.S.), Merits, 1986 I.C.J. 218 (June 27); Human Rights Committee, Gen. Cmt. No. 24,
¶ 10, 52nd Sess., U.N. Doc. CCPR/C/21/Rev.1/Add.6 (Apr. 11, 1994), and Gen. Cmt.
No. 29, ¶ 11, 1950th mtg., U.N. Doc. CCPR/C/21/Rev.1/Add.11 (July 21, 2001); see also
Melzer, supra note 6, at 215-20 (discussing evidence of the jus cogens character of the
prohibition against arbitrary deprivation of life).
        8
          The injunctive relief Plaintiff seeks is available under the ATS. The court in
Kadic v. Karadzic, in exercising its “equitable powers . . . and the Court’s authority under
the Alien Tort Claims Act,” granted plaintiffs with ATS claims against Radovan
Karadzic a permanent injunction to enjoin him from committing or facilitating various
acts, including extrajudicial killings. Kadic, No. 93-1163, at 2 (S.D.N.Y. Aug. 16, 2000)
(order granting permanent injunction).

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       Federal courts have uniformly held that claims of extrajudicial killing—a

deliberate killing without judicial process that is not otherwise lawful—by the state are

actionable under the ATS, both before and after Sosa. See, e.g., Wiwa v. Royal Dutch

Petroleum Co., 626 F. Supp. 2d 377, 383 (S.D.N.Y. 2009); In re Xe Servs. Alien Tort

Litig., 665 F. Supp. 2d 569, 593 (E.D. Va. 2009); Mujica v. Occidental Petroleum Corp.,

381 F. Supp. 2d 1164, 1178-79 (C.D. Cal. 2005); Kadic v. Karadzic, 70 F.3d 232, 243

(2d Cir. 1995); Forti v. Suarez-Mason, 672 F. Supp. 1531, 1542 (N.D. Cal. 1987). From

the beginning of modern ATS jurisprudence, extrajudicial killing has been identified as

the subject of “unequivocal international condemnation” and one of “a handful of heinous

actions—each of which violates definable, universal and obligatory norms.” Tel-Oren,

726 F.2d at 781, 791 (Edwards, J., concurring). Indeed, “every instrument or agreement

that has attempted to define the scope of international human rights has ‘recognized a

right to life coupled with a right to due process to protect that right.’” Xuncax v.

Gramajo, 886 F. Supp. 162, 185 (D. Mass. 1995) (internal citation omitted).

       When it enacted the Torture Victim Protection Act of 1991 (“TVPA”), Congress

explicitly included a prohibition against extrajudicial killing which, Congress recognized,

had already “assumed the status of customary international law.”9 See Wiwa, 626 F.

Supp. 2d at 383 (citing the TVPA and finding “unpersuasive Defendants’ argument that

there is no customary international law norm against summary execution . . . that meets

the Sosa standard”); In re Xe Servs. Alien Tort Litig., 665 F. Supp. 2d at 593 (citing the

TVPA as “support for the existence of an international norm prohibiting official summary

executions”). Indeed, the Supreme Court in Sosa read the TVPA as providing a “clear



       9
           S. Rep. No. 102-249, at 3 (1991); H.R. Rep. No. 102-367, at 2-3 (1991).

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mandate” for federal courts to recognize claims of extrajudicial killing and torture,

including under the ATS. 542 U.S. at 728, 731.

       Section 3(a) of the TVPA defines extrajudicial killing as

       a deliberated killing not authorized by a previous judgment pronounced by a
       regularly constituted court affording all the judicial guarantees which are
       recognized as indispensable by civilized peoples. Such term, however, does not
       include any such killing that, under international law, is lawfully carried out under
       the authority of a foreign nation.

28 U.S.C. § 1350 note.

       Given the TVPA’s clear definition of extrajudicial killing codifying customary

international law,10 and Sosa’s endorsement of the TVPA as establishing “an

unambiguous and modern basis for federal claims of … extrajudicial killing,” 542 U.S. at

728 (internal citation and quotation marks omitted), a killing that meets the TVPA

definition would be actionable under the ATS as well.11

            b.   A deliberate killing without judicial process where lethal force is not a last
                 resort to prevent an imminent threat to life or serious physical injury
                 violates the international norm against extrajudicial killing.

       Defendants’ authorization of the targeted killing of Plaintiff’s son followed an

executive determination based on secret criteria, and is being implemented outside the

context of the armed conflicts involving the United States in Afghanistan and Iraq. The

deliberate nature of the authorized killing pursuant to a process devoid of any of the basic

procedural protections required before the state may take an individual’s life plainly

satisfies the TVPA definition of “a deliberated killing” that was “not authorized by a




       10
          S. Rep. No. 102-249, at 6 (1991).
       11
          This claim is brought by Plaintiff Nasser Al-Aulaqi on his own behalf for the
injury he would suffer if Defendants were to kill his son.

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previous judgment pronounced by a regularly constituted court affording all the judicial

guarantees which are recognized as indispensable by civilized peoples.”

       In the absence of due process, under the body of international law applicable

outside armed conflict, a state may intentionally deprive an individual of life only when

the use of lethal force meets certain stringent criteria—of “proportionality,” “necessity”

and “precaution.”12 To be lawful, a targeted killing must satisfy all three of these criteria.

       As a general rule, the threshold requirement of proportionality ensures that lethal

force will be used only to prevent threats to life. It prohibits the use of lethal force except

“in self-defense or defense of others against the imminent threat of death or serious

injury, to prevent the perpetration of a particularly serious crime involving grave threat to

life, to arrest a person presenting such a danger and resisting their authority, or to prevent

his or her escape.” Basic Principles on the Use of Force and Firearms by Law

Enforcement Officials, princ. 9, U.N. Doc. A/CONF.144/28/Rev.1 at 112 (Aug. 27-Sept.

7, 1990). In the context of counter-terrorism operations, a general threat emanating from

an organization as a whole, or a threat based on allegations of past conduct, does not



       12
           International law does not recognize a territorial limitation on the right to life.
While human rights treaties restrict their applicability to individuals who are subject to
the “jurisdiction” of a given state, jurisdiction is not determined by the territory in which
a violation has occurred, but by the “relationship between the individual and the State” in
relation to the violation, wherever it has occurred. Burgos v. Uruguay, Comm. No.
R.12/52, Human Rights Committee, U.N. Doc. Supp. No. 40 (A/36/40) at 176, ¶ 12.2
(1981); see also Coard v. United States, Case No. 10.951, Inter-Am. Comm’n H.R.,
Report No. 109/99, ¶ 37 (1999); Alejandre, Case 11.589, Inter-Am. Comm’n H.R., ¶ 23.
The concept of jurisdiction under human rights law focuses on conduct rather than
territory, and requires states to comply with human rights standards with respect to all
individuals who may be under their effective control or directly affected by their actions.
In the context of targeted killings in particular, killings by state agents occurring outside
the territory of the acting state “brings[] the targeted person within the jurisdiction of that
state” within the meaning of international law. Melzer, supra note 6, at 138; see
generally id. at 122-138, 212 (discussing the extraterritorial scope of the right to life).

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justify an intentional killing. Rather, a threat must be concrete, specific and imminent.

See Aytekin v. Turkey, App. No. 22880/93, Eur. Comm’n H.R., ¶¶ 95-96 (1997) (in the

absence of specific circumstances justifying the fatal shooting of a suspect, finding that

“the fact that the area was subject to terrorist activity does not of its own accord give the

security forces the right to open fire upon people or persons that they deem suspicious”);

Andronicou and Constantinou v. Cyprus, App. No. 25052/94, Eur. Ct. H.R., ¶ 191 (1997)

(finding that a fatal shooting was justified in light of a perceived “real and immediate

danger” to life); Neira-Alegría v. Peru, Merits, Inter-Am. Ct. H.R. (ser. C) No. 20, ¶ 74

(Jan. 19, 1995) (finding that the actual danger under the circumstances did not justify the

use of lethal force even where the targets were “highly dangerous and [] in fact armed”).

Responding with lethal force to threats that fall short of these standards can never be

proportionate or lawful, even if the failure to use lethal force results in a lost opportunity

to arrest the suspect. See Nachova and Others v. Bulgaria, App. No. 43577/98, Eur. Ct.

H.R., ¶ 95 (2005).

       Even where justified in light of the gravity of a given threat and thus

proportionate, the use of lethal force must also be “strictly unavoidable” and thus

necessary to prevent the loss of life13—a measure of last resort only after non-lethal

means to avert the threat have been exhausted. See Andronicou, App. No. 25052/94, ¶¶



       13
           Basic Principles, princ. 9 (permitting intentional lethal force only when “strictly
unavoidable in order to protect life”); see also Code of Conduct for Law Enforcement
Officials, art. 3 and cmt., G.A. res. 34/169, annex, 34 U.N. GAOR Supp. (No. 46) at 186,
U.N. Doc. A/34/46 (Dec. 17, 1979) (permitting force “only when strictly necessary” as an
“extreme measure”); McCann, App. No. 18984/91, ¶ 148 (1995) (“[t]he use of force …
must be no more than “absolutely necessary”); Report on Terrorism and Human Rights,
Inter-Am. Comm’n H.R., OEA/Ser.L/V/II.116, Doc. 5 rev. 1 corr., ¶ 87 (Oct. 22, 2002)
(permitting lethal force only where “strictly unavoidable” and “strictly necessary and
proportionate”).

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183-85 (finding that the use of lethal force was “a considered one of last resort” after

negotiations had been attempted “right up to the last possible moment” and failed);

McCann and Others v. United Kingdom, App. No. 18984/91, Eur. Ct. H.R., ¶¶ 201-13

(1995) (holding that the fatal shooting of terrorist suspects was not “absolutely

necessary” because the suspects could have been apprehended at an earlier moment in

time); Alejandre v. Cuba, Case 11.589, Inter-Am. Comm’n H.R., Report No. 86/99,

OEA/Ser.L/V/II.106 Doc. 3 rev. at 586, ¶ 42 (1999) (finding that government agents

“made no effort to use means other than lethal force” in violation of the right to life); see

also Basic Principles, princ. 4 (requiring “as far as possible … non-violent means before

resorting to the use of force and firearms”), princ. 9 (permitting lethal force “only when

less extreme means are insufficient to achieve lawful objectives”); Code of Conduct, art.

3 cmt. (permitting lethal force only when “less extreme measures are not sufficient to

restrain or apprehend the suspected offender”); Report of the Special Rapporteur on

Extrajudicial Executions, Comm’n H.R., 62nd Sess., ¶ 48, E/CN.4/2006/53 (Mar. 8,

2006) (by Philip Alston) (“[n]on-lethal tactics for capture or prevention must always be

attempted if feasible” and “law enforcement officers must … employ a graduated resort

to force”). Necessity also has a temporal element, requiring that potential recourse to

lethal force be constantly reassessed and necessary at the very moment of application.14

The question of necessity can thus “hardly be determined in advance.” Report of the

Special Rapporteur on Extrajudicial Executions, G.A., 61st Sess., ¶ 41, G.A. Res. 59/197,

A/61/311 (Sept. 5, 2006) (by Philip Alston).




       14
            See Melzer, supra note 6, at 101, 116, 228 (citing cases).

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        Lethal force that is both proportionate and necessary must further satisfy the

requirement of precaution, which compels states to plan, organize, and control operations

to the greatest extent possible so as to minimize recourse to lethal force. See McCann,

App. No. 18984/91, ¶¶ 201-13 (finding that the failure to apprehend terrorist suspects

prior to fatally shooting them, the failure to allow for the possibility of erroneous

intelligence assessments, and the automatic recourse to lethal force were evidence of a

lack of requisite care in the organization and control of the operation); see also Nachova,

App. No. 43577/98, ¶ 103 (holding that the authorities had failed to comply with the

obligation to minimize the risk to loss of life “since the arresting officers were instructed

to use all available means to arrest [the victims], in disregard of the fact that the fugitives

were unarmed and posed no danger to life or limb”). To be lawful, the summary use of

lethal force by a state must satisfy all three of these criteria.

        It bears noting that where a targeted killing entails the use of force by one state in

the territory of another outside the context of armed conflict, the legality of the

extraterritorial use of force by the targeting state is separate and distinct from the question

whether the targeting of the individual himself is lawful. Article 2(4) of the U.N. Charter

imposes a general ban on the use of extraterritorial force by states outside a situation of

armed conflict, except when a state has consented to the use of force in its territory, or

when the targeting state has asserted a right to use force in self-defense because the

second state is unwilling or unable to stop attacks from its territory. See U.N. Charter.

art. 2, para. 4; Report of the Special Rapporteur on Extrajudicial Executions, Human

Rights Council, 14th Sess., ¶ 35, A/HRC/14/24/Add.6 (May 28, 2010) (by Philip Alston).

But even a state’s consent, or a targeting state’s asserted right to self-defense, does not




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render a targeted killing permissible if the individual himself is not a lawful object of

lethal force under the applicable international law.

       On its face, a policy predicated on “kill lists” of approved targets against whom

the government has predetermined to use lethal force, where names remain on lists for

months at a time, cannot be consistent with the requirements governing the use of lethal

force by states. These standards limit force to imminent and specific threats

(proportionality), permit lethal force only as a last resort and require constant

reassessment of its need, including at the moment of application (necessity), and require

states to minimize recourse to lethal force to the greatest degree possible in planning

operations (precaution).

       The danger of creating exceptions to this rule in the face of terrorist threats was

articulated by the United Nations Special Rapporteur on Extrajudicial, Summary or

Arbitrary Executions in 2004:

       Empowering Governments to identify and kill “known terrorists” places no
       verifiable obligation upon them to demonstrate in any way that those against
       whom lethal force is used are indeed terrorists, or to demonstrate that every other
       alternative has been exhausted. While it is portrayed as a limited “exception” to
       international norms, it actually creates the potential for endless expansion of the
       relevant category to include any enemies of the State, social misfits, political
       opponents, or others. And it makes a mockery of whatever accountability
       mechanisms may have otherwise constrained or exposed such illegal action under
       either humanitarian or human rights law.

Report of the Special Rapporteur on Extrajudicial Executions, Comm’n H.R., 61st Sess.,

¶ 41, E/CN.4/2005/7 (Dec. 22, 2004) (by Philip Alston).

       For these reasons, international law expressly prohibits the use of lethal force

against civilians outside of armed conflict except as a last resort to prevent an imminent

attack that is likely to cause death or serious physical injury. A targeted killing policy




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under which names are added to “kill lists” after a bureaucratic process and remain there

for months at a time cannot be limited to the use of lethal force as a last resort to address

imminent threats.

   5. Defendants’ targeted killing policy violates the Fifth Amendment by
      subjecting U.S. citizens to the possibility of death on the basis of standards
      that are secret or non-existent.

       The government’s refusal to disclose the standard by which it targets U.S. citizens

for death is independently unconstitutional: U.S. citizens have a right to know what

conduct may subject them to extrajudicial execution at the hands of their own

government so that they may conform their conduct accordingly. Due process requires,

at a minimum, that citizens be put on notice of what may cause them to be put to death.

       It is “the first essential of due process of law” that the government must provide

notice of what it forbids before it takes a person’s life, liberty or property. Connally v.

Gen. Constr. Co., 269 U.S. 385, 391 (1926). The Supreme Court has repeatedly made

clear that all persons “are entitled to be informed as to what the State commands or

forbids,” Papachristou v. City of Jacksonville, 405 U.S. 156, 162 (1972) (internal

quotation marks omitted), and that providing “fair warning . . . of what the law intends to

do if a certain line is passed” has “long been part of our tradition.” United States v. Bass,

404 U.S. 336, 348 (1971) (internal quotation marks omitted).

       The Due Process Clause’s notice requirement is animated by several concerns that

are engaged here. First, a notice requirement reflects the principle that basic notions of

fairness would be violated if penalties were visited on individuals who had no reasonable

notice that their conduct would result in such penalties, and thus had no meaningful

opportunity to conform their behavior to the law. Landgraf v. USI Film Prods., 511 U.S.




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244, 265 (1994) (“Elementary considerations of fairness dictate that individuals should

have an opportunity to know what the law is and to conform their conduct accordingly”);

Grayned v. City of Rockford, 408 U.S. 104, 108-09 (1972) (“[B]ecause we assume that

man is free to steer between lawful and unlawful conduct, we insist that laws give the

person of ordinary intelligence a reasonable opportunity to know what is prohibited, so

that he may act accordingly.”).

       Second, in the absence of clearly stated rules, there is little to restrain the

government from acting arbitrarily. As the Court has explained, “if arbitrary and

discriminatory enforcement is to be prevented, laws must provide explicit standards for

those who apply them.” Grayned, 408 U.S. at 108; see also Kolender v. Lawson, 461

U.S. 352, 357, 361 (1983) (holding statute in question unconstitutionally vague “because

it encourages arbitrary enforcement by failing to describe with sufficient particularity

what a suspect must do in order to satisfy the statute” ); Smith v. Goguen, 415 U.S. 566,

at 572-73 (1974) (“[The due process doctrine of vagueness] requires legislatures to set

reasonably clear guidelines for law enforcement officials and triers of fact in order to

prevent arbitrary and discriminatory enforcement.”) (internal quotation marks omitted).

       Applying these principles, courts have invalidated criminal statutes that fail to put

individuals on fair notice as to what is prohibited. See, e.g., Cline v. Frink Dairy Co.,

274 U.S. 445, 458 (1927) (“[Due process] certainly imposes upon a state an obligation to

frame its criminal statutes so that those to whom they are addressed may know what

standard of conduct is intended to be required.”); Connally, 269 U.S. at 391 (holding that

“the terms of a penal statute . . . must be sufficiently explicit to inform those who are

subject to it what conduct on their part will render them liable to its penalties”). Where




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serious deprivations may be imposed in a civil proceeding, courts have applied the same

notice standard. See, e.g., Jordan v. De George, 341 U.S. 223, 231 (1951); Gen. Elec.

Co. v. U.S. EPA, 53 F.3d 1324, 1329 (D.C. Cir. 1995) (holding that stringent fair notice

requirements apply “when sanctions are drastic”).

       It follows that when the government seeks to impose the gravest of all

deprivations―death―the notice requirements of the Due Process Clause are fully

engaged. That the government has targeted a U.S. citizen for death without the typical

pre-deprivation process of a criminal trial only heightens the government’s obligation to

provide clear notice of its targeting criteria. In these circumstances, the Court is not

tasked with interpreting uncertain or imprecise terms, nor is it asked to divine whether a

published standard provides a reasonably clear line between illegal and legal conduct.

The government has gone beyond mere imprecision; it has failed to provide any public

language whatsoever to guide either this Court or an individual contemplating the

consequences of his actions.

       Due process demands fair notice of what conduct will expose an individual to

government sanctions, particularly where the penalty involved is severe. A policy of

targeted killing predicated on executive determinations that U.S. citizens meet a secret

definition of threat cannot survive constitutional scrutiny. If the government is to adopt a

policy permitting the lethal targeting of U.S. citizens, it may not do so constitutionally

without informing the public of the criteria that it applies.

B. PLAINTIFF WILL SUFFER IRREPARABLE INJURY ABSENT AN
   INJUNCTION.

       The irreparable injury in this case—death—is obvious and could not be greater.

In order to obtain a preliminary injunction, Plaintiff need not demonstrate that irreparable



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injury is certain, but only that it “is likely in the absence of an injunction.” Winter v.

Natural Res. Def. Council, 129 S. Ct. 365, 375 (2008) (emphasis in original). Here,

absent a preliminary injunction, Plaintiff’s son could be killed at any moment so long as

he remains on a targeted “kill list.”

        Death is precisely the type of irreparable harm preliminary injunctions are

designed to prevent. See, e.g., Wilson v. Group Hospitalization & Med. Servs., Inc., 791

F. Supp. 309, 313-314 (D.D.C. 1992) (granting preliminary injunction where, absent

injunctive relief preventing denial of medical benefits, plaintiff “faced nearly certain

death, the ultimate irreparable injury”); Qualls v. Rumsfeld, 357 F. Supp. 2d 274, 286

(D.D.C. 2005) (finding irreparable harm where plaintiff faced a “great risk of harm and

death as a result of his continuing service” on active duty in Iraq); Williams v. Chrans, 50

F.3d 1363, 1364 (7th Cir. 1995) (per curiam) (“In this case, as in all death cases, there is

no question of irreparable injury.”); Henderson v. Bodine Aluminum, Inc., 70 F.3d 958,

961 (8th Cir. 1995) (“It is hard to imagine a greater harm than losing a chance for

potentially life-saving medical treatment.” (citation omitted)); Harris v. Bd. of

Supervisors, 366 F.3d 754, 766 (9th Cir. 2004) (holding that “pain, infection, amputation,

medical complications, and death” constitute irreparable harm).

        Indeed, by threatening Anwar Al-Aulaqi with the imminent loss of his

constitutionally protected right to life, defendants have ipso facto threatened him with

irreparable injury. See Mills v. District of Columbia, 571 F.3d 1304, 1312 (D.C. Cir.

2009) (holding, in the context of a Fourth Amendment challenge, that “[i]t has long been

established that the loss of constitutional freedoms, ‘for even minimal periods of time,

unquestionably constitutes irreparable injury’” (quoting Elrod v. Burns, 427 U.S. 347,




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373 (1976)); Seretse-Khama v. Ashcroft, 215 F. Supp. 2d 37, 53 (D.D.C. 2002)

(deprivation of liberty in violation of Due Process Clause “is an undeniably substantial

and irreparable harm”).

        Finally, the threatened killing of Plaintiff’s son has obvious severe consequences

for Plaintiff in his own right as well as in his next friend capacity. If injunctive relief is

not granted, Plaintiff will suffer the irreparable and irreplaceable loss of his son and the

grave psychological, emotional, and potentially physical pain that results from such loss.

See, e.g., Vencor Nursing Ctrs, L.P. v. Shalala, 63 F. Supp. 2d 1, 12 (D.D.C. 1999)

(“court may consider subjective, psychological harm in its irreparable-harm analysis”);

see also, Petties v. District of Columbia, 881 F. Supp. 63, 70 (D.D.C. 1995) (finding

irreparable harm where, inter alia, defendant’s actions “exact[ed] a psychological,

emotional and physical toll”). Even the temporary loss of contact with family can

constitute irreparable harm. See, e.g., Parrish v. Brownlee, 335 F. Supp. 2d 661, 668

(E.D.N.C. 2004) (finding loss of “companionship of family” during time of unjustified

call to active military duty “significant and irreparable”); see also Keirnan v. Utah

Transit Auth., 339 F.3d 1217, 1220 (10th Cir. 2003) (finding lost “contact with friends

and family” helped demonstrate irreparable harm).

C. DEFENDANTS WILL NOT SUFFER SUBSTANTIAL HARM AS A RESULT
   OF A PRELIMINARY INJUNCTION.

        A preliminary injunction to enjoin the government from killing a U.S. citizen

outside of armed conflict in violation of the Constitution and international law will not

“substantially harm” Defendants. Davis, 571 F.3d at 1291. The government cannot

suffer harm by being required to comply with the law, and the notion that it could runs

contrary to the most basic elements of our legal system. Preventing Defendants from



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carrying out an unlawful killing does not prevent them from pursuing Anwar Al-Aulaqi

with constitutional law enforcement tools.

        An injunction that confines the government’s behavior to its lawful bounds and

checks the overreach of executive power protects us all. See, e.g., Brady v. Maryland,

373 U.S. 83, 87 (1963) (“An inscription on the walls of the Department of Justice states

the proposition candidly for the federal domain: ‘The United States wins its point

whenever justice is done its citizens in the courts.’”).

D. THE PUBLIC INTEREST STRONGLY FAVORS GRANTING AN
   INJUNCTION.

       The public has an exceedingly strong interest in ensuring that the government

abides by the Constitution and laws of the United States. The deliberate and

premeditated killing of a U.S. citizen without any judicial process, outside the narrow

circumstances that permit the use of lethal force by the state, is contrary to the

unambiguous language of the Fifth Amendment, and is abhorrent to a well-functioning

democracy. An injunction ensuring that the United States conducts its operations within

legal confines would substantially “further the public interest.” Ark. Dairy Coop. Ass’n,

573 F.3d at 821.

       The public interest is served when a preliminary injunction seeks to uphold

constitutional protections. See, e.g., O’Donnell Constr. Co. v. District of Columbia, 963

F.2d 420, 429 (D.C. Cir. 1992) (“[I]ssuance of a preliminary injunction would serve the

public’s interest in maintaining a system of laws free of unconstitutional racial

classifications.”); Kotz v. Lappin, 515 F. Supp. 2d 143, 152 (D.D.C. 2007) (“The public

certainly has an interest in the judiciary intervening when prisoners raise allegations of

constitutional violations.” (citing Rhodes v. Chapman, 452 U.S. 337, 362 (1981));



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Seretse-Khama, 215 F. Supp. 2d at 54 (public interest served by release of detainee where

“continued indefinite detention [would] pose[] serious constitutional risks”); Cortez III

Serv. Corp. v. Nat’l Aeronautics & Space Admin., 950 F. Supp. 357, 363 (D.D.C. 1996)

(public interest served by upholding the Constitution); see also G & V Lounge, Inc. v.

Mich. Liquor Control Comm’n, 23 F.3d 1071, 1079 (6th Cir. 1994) (“[I]t is always in the

public interest to prevent the violation of a party’s constitutional rights.”). This same

consideration applies to ensuring government actors abide by the law generally. See, e.g.,

N. Mariana Islands v. United States, 686 F. Supp. 2d 7, 21 (D.D.C. 2009) (noting “the

general public interest served by agencies’ compliance with the law” in context of

preliminary injunctions).

       Claims of “national security” do not override these core legal principles,

especially where significant individual rights are at stake. In Al-Marri v. Bush, the court

granted a Guantanamo Bay detainee’s motion for a preliminary injunction seeking 30

days notice before a transfer, rejecting the government’s argument that the relief was

contrary to the public interest “because it could frustrate the Government’s ability to

conduct foreign policy, which ultimately could harm the nation by impairing the

effectiveness of the war on terrorism.” No. 04-2035, 2005 U.S. Dist. LEXIS 6259, at *20

(D.D.C. Apr. 4, 2005). The court observed that the government’s argument “‘simply

conflate[d] the public interest with [the Government’s] own position’” Id. (quoting

Mahmoad Abdah v. Bush, 2005 U.S. Dist. LEXIS 4942 (D.D.C. Mar. 29, 2005)). “In

contrast, the public interest undeniably is served by ensuring that Petitioner’s

constitutional rights can be adjudicated in an appropriate manner.” Id. at *20-21.




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       Furthermore, the injunction sought by Plaintiff would not prevent the government

from taking a variety of appropriate and lawful actions to address any threat of harm. It

would not prohibit the government from using lethal force, as a last resort, against

individuals, including U.S. citizens, who present concrete, specific, and imminent threats

of death or physical injury.

       Any purported national security interest the government may assert is far

outweighed by the dangers of allowing Defendants to carry out targeted killings of

citizens on the basis of secret criteria in a closed executive process, insulated from any

kind of judicial review. See, e.g., Boumediene v. Bush, 553 U.S. 723, 128 S. Ct. 2229,

2277 (2008) (“Security depends upon a sophisticated intelligence apparatus and the

ability of our Armed Forces to act and to interdict. There are further considerations,

however. Security subsists, too, in fidelity to freedom’s first principles. Chief among

these are freedom from arbitrary and unlawful restraint and the personal liberty that is

secured by adherence to the separation of powers.”). See also, Home Bldg. & Loan Ass’n

v. Blaisdell, 290 U.S. 398, 426 (1934) (“[E]ven the war power does not remove

constitutional limitations safeguarding essential liberties.”). Granting preliminary

injunctive relief will further serve the public interest by permitting the judicial review

necessary for this extraordinary government policy.


                                      CONCLUSION

       For the reasons stated above, Plaintiff respectfully requests that the Court (i)

declare that, outside of armed conflict, the Constitution prohibits Defendants from

carrying out the targeted killing of U.S. citizens, including Plaintiff’s son, except in

circumstances in which they present concrete, specific, and imminent threats to life or



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physical safety, and there are no means other than lethal force that could reasonably be

employed to neutralize the threats; (ii) declare that, outside of armed conflict, treaty and

customary international law prohibit Defendants from carrying out the targeted killing of

individuals, including Plaintiff’s son, except in circumstances in which they present

concrete, specific, and imminent threats to life or physical safety, and there are no means

other than lethal force that could reasonably be employed to neutralize the threats; (iii)

enjoin defendants from intentionally killing U.S. citizen Anwar Al-Aulaqi unless he is

found to present a concrete, specific, and imminent threat to life or physical safety, and

there are no means other than lethal force that could reasonably be employed to neutralize

the threat; and (iv) order Defendants to disclose the criteria that are used in determining

whether the government will carry out the targeted killing of a U.S. citizen.


                                       Respectfully submitted,

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